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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re                                                           Chapter 11

                                                                     Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al.,1
                                                                     (Jointly Administered)
                                          Debtors.
                                                                     Re: Docket Nos. 935 & 964


CERTIFICATION OF COUNSEL REGARDING ORDER GRANTING CONTINUANCE
  OF DEBTORS’ SECOND MOTION TO EXTEND THE DEBTORS’ EXCLUSIVE
      PERIODS TO FILE AND SOLICIT VOTES ON A CHAPTER 11 PLAN

            The undersigned counsel to the above-captioned debtors and debtors-in-possession (the

“Debtors”) hereby certifies as follows:

            1.     On January 29, 2024, the Debtors filed the Debtors’ Second Motion to Extend the

Debtors’ Exclusive Periods to File and Solicit Votes on a Chapter 11 Plan [Docket No. 935] (the

“Motion”) with the United States Bankruptcy Court for the District of Delaware (the “Court”).

            2.     Pursuant to the notice filed with the Motion, any objection or response to the relief

requested in the Motion was to be filed and served so as to be received no later than February 12,

2024 at 4:00 p.m. (Eastern Time) (the “Objection Deadline”).

            3.     Prior to the Objection Deadline, the Debtors received from Rahul Singh (“Mr.

Singh”) the Objection of Rahul Singh to Debtors’ Second Motion to Extend the Debtors’ Exclusive

Periods to File and Solicit Votes on a Chapter 11 Plan [Docket No. 964] (the “Objection”). The

Objection was docketed by the Court on February 12, 2024.

            4.     A hearing on the Motion and Objection is scheduled for February 22, 2024 at 10:30

a.m. (the “Hearing”).


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         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corporation (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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       5.      In an effort to conserve estate resources, the Debtors have requested a continuance

of the Motion until the hearing scheduled for March 5, 2024 at 3:00 p.m. (ET). Mr. Singh does not

consent to the continuance. Both the Official Committee of Equity Holders and the Official

Committee of Unsecured Creditors consent to the continuance.



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       WHEREFORE, the Debtors respectfully request that the proposed order attached hereto as

Exhibit A granting the continuance be entered at the earliest convenience of the Court.

Dated: February 13, 2024
Wilmington, Delaware

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